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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MARYLAND
                          BALTIMORE DIVISION


BLOOSURF, LLC,

                   Plaintiff,
v.                                              Case No. 1:24-cv-1047-RDB

T-MOBILE USA, INC. and TDI ACQUISITION
SUB, LLC,

                    Defendants.



         REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS



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                                               INTRODUCTION

         Bloosurf’s complaint centers on alleged interference with wireless telecommunications

spectrum—a technical matter that, as Bloosurf has emphasized, lies at the “core” of the FCC’s

regulatory authority. Ex. 7 at 4. 1 Court after court facing such interference claims has concluded

that the Commission has exclusive jurisdiction to resolve them. See Mot. 14–15; infra Part I.

Bloosurf offers no compelling response to that body of law—indeed, with a single exception, it

does not even acknowledge any of those decisions.

         Instead, in trying to recast its claims as non-technical in order to avoid FCC jurisdiction,

Bloosurf underscores why this case belongs before the Commission. Beyond littering its brief

with specialized matters like “subframe configuration[s],” “pattern[s] of up-linking and

downlinking,” and “throughput/distance calculator[s],” Bloosurf goes out of its way to emphasize

that the threshold issue this Court will need to resolve is: “[D]id the interference occur[?]” Opp.

5, 7 n.5, 14. Even its lone (ostensibly) contract-based claim—for tortious interference with the

Lease Agreement—is premised on “interference with . . . spectrum.” Id. at 24. Spectrum

interference, however, “falls within the FCC’s technical domain.” Broyde v. Gotham Tower, Inc.,

13 F.3d 994, 997 (6th Cir. 1994). That undoubtedly is why Bloosurf first filed a complaint with

the Commission making substantially the same interference allegations as it does here, and to this

day continues to seek intra-agency review of the FCC’s dismissal of that complaint.

         Bloosurf’s position concerning the Lease Agreement is fatally flawed as well. Less than

two years ago, Bloosurf represented to this Court that the “EBS Lease[] . . . [is] set to expire in

September-October 2024.” Ex. 1 ¶ 59. As discussed in T-Mobile’s opening brief, on that point

Bloosurf was correct. See Mot. 5–6. Now Bloosurf tries to walk back its unambiguous and


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  All exhibits cited as “Ex. __” are Exhibits to the Declaration of William I. Stewart in Support of Defendants’ Motion
to Dismiss, Dkt. 23-2.


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repeated “statements . . . in the prior cases” that the Lease Agreement expires this year—or, as

Bloosurf euphemistically puts it, to “clarif[y] its position.” Opp. 25. But the relevance of

Bloosurf’s statements is not that they constituted “factual findings” or give rise to “claim

preclusion.” Id. Rather, it is that they were candid, accurate statements to this and other Courts

about the status of the Lease Agreement. Put differently, Bloosurf correctly states “that ‘the terms

of the Lease . . . were structured so as to match the EBS License expiration dates.’” Id. at 3. The

problem for Bloosurf is that, because “the Licenses . . . run until 2024,” id. at 2, so does the Lease

Agreement.

       Unable to surmount these hurdles, Bloosurf is left to mischaracterize T-Mobile’s

arguments. For instance, it asserts (at 20) that T-Mobile “claim[s] [Bloosurf has] no cause of

action” under the FCA—but T-Mobile never made that argument. It faults (at 3 n.3) T-Mobile for

attacking Bloosurf’s “‘dishonesty’”—but T-Mobile never used that word. It claims (at 17) the

“interference is undisputed”—when it is very much not, as Bloosurf elsewhere acknowledges. See

Opp. 14 (“did the interference occur”). And it claims (at 6) that T-Mobile’s 5G rollout “was not

covered by the FCC’s 2021 inquiry; nor has it ever been addressed”—when exhibits to Bloosurf’s

complaint show 5G matters were discussed with the FCC in 2021, see Dkt. 1-16 at 9, and

Bloosurf’s FCC complaint—which the agency dismissed—expressly “request[ed] that the

Commission investigate existing and potential harmful interference from T-Mobile’s 5G NR

operations,” Opp. 8.

       Fortunately, this Court need not wade into these issues—this is why the FCC has

jurisdiction over this case.    Whether under the doctrine of exclusive jurisdiction, primary

jurisdiction, or preemption—or due to Bloosurf’s many independent pleading failures—the

complaint should be dismissed.




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                                                ARGUMENT

I.      THE FCC HAS EXCLUSIVE JURISDICTION OVER PLAINTIFF’S CLAIMS.

        “[R]adio frequency interference” is a “‘technical matter[]’” over which “the FCC’s

jurisdiction is . . . ‘clearly exclusive.’” Broyde, 13 F.3d at 997 (quoting Head v. N.M. Bd. of

Examiners in Optometry, 374 U.S. 434, 430 n.6 (1963)). This result follows straightforwardly

from the Federal Communications Act. The Act provides that one of its “purpose[s] [is] . . . to

maintain the control of the United States over all the channels of radio transmission; and to provide

for the use of such channels . . . under licenses granted by Federal authority.” 47 U.S.C. § 301;

see also Head, 374 U.S. at 430 n.6 (citing § 301). Likewise, the Act empowers the FCC to

“[a]ssign bands of frequencies . . . [and] [r]egulate the kind of apparatus to be used with respect to

its external effects.” 47 U.S.C. § 303(c), (e); see also Freeman v. Burlington Broadcasters, Inc.,

204 F.3d 311, 320 (2d Cir. 2000) (citing § 303). “These statutory provisions make it clear that

Congress intended the FCC to possess exclusive authority over technical matters related to radio

broadcasting”—such as “RF interference.” Freeman, 204 F.3d at 320–21. 2

        Under those principles, exclusive jurisdiction over this case lies with the FCC. Spectrum

interference is the core of Bloosurf’s complaint. Even under Bloosurf’s framing, the threshold

issue in this case is: “[D]id the interference occur[?]” Opp. 14. Technical interference issues—

from “‘subframe’ configurations” and “5G transmission[s]” to the “17.4MHz space” and “EBS

frequency band[s]”—form the basis for more than 50 paragraphs in the complaint and each of

Bloosurf’s claims. See, e.g., Compl. ¶¶ 48–106; Mot. 12, 15. Bloosurf does not dispute that these

are the same allegations it continues to press before the FCC. Ex. 7; Mot. 12.



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  FCC decisions and legislative history further support this result. See In re 960 Radio, Inc., Licensee of Station
KJSN(FM), Klamath Falls, Or., 1985 WL 193883, at *2 (F.C.C. Nov. 4, 1985) (“[E]xclusive jurisdiction to resolve
questions involving interference has been assigned to the FCC.”); H.R. Conf. Rep. 97-765, at 33 (1982) (“Exclusive
jurisdiction over RFI incidents . . . lies with the FCC.” (some capitalization omitted)).


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       While at times Bloosurf’s opposition brief tries to run from the complaint—asserting (at

12) that “consideration of wireless spectrum operations” is merely “part” of the case—elsewhere

it cannot help but refute such assertions by emphasizing the centrality of its interference

allegations. For instance, Bloosurf expends great effort explaining “uplink/downlink patterns” and

“switching from SSF2 to SSF7[] to mitigate the presence of a 5G NR network” (at 5, 7 n.5); deems

“special subframe 7” sufficiently key to its claims to be worth emphasizing in bold (at 5);

and devotes an entire section of its brief to the so-called “Subframe Debacle” (at 6). Simply put,

the complaint overwhelmingly is premised on alleged spectrum interference. See Mot. 11–12,

14–17. Even its claim for tortious interference with the Lease Agreement, Bloosurf now concedes

(at 24), is based on “interference with . . . spectrum.” The problem for Bloosurf is that—as it

previously has underscored—addressing “interference” is “[o]ne of the Commission’s core

missions.” Ex. 7 at 4.

       Faced with the unavoidable (and commonsensical) result that this case should be before

the FCC, Bloosurf tries a variety of end runs around it. First, Bloosurf tries (at 12) to brush aside

the Sixth Circuit’s exclusive-jurisdiction holding in Broyde as “not applicable here.” But the

opposite is true. In Broyde, the plaintiffs alleged that “defendants’ radio signals interfere[d] with

the operation of [plaintiffs’] equipment.” 13 F.3d at 996. Reasoning that the “FCC[] [has]

exclusive jurisdiction over the regulation of radio frequency interference,” the Court of Appeals

affirmed dismissal of the complaint. Id. at 997. Here, the allegations are materially the same, and

the result should be too. While Bloosurf nitpicks the Supreme Court’s decision in Head—which

Broyde quoted from once—for not discussing interference specifically, Opp. 12, that is irrelevant

because Broyde squarely involved and addressed interference. Tellingly, Bloosurf fails even to

acknowledge—let alone grapple with—the Second Circuit’s decision in Freeman or any of the




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other cases cited by T-Mobile that likewise concluded that the FCC has exclusive jurisdiction over

interference matters. See Mot. 15; Howington v. Spectrasite Commc’ns, Inc., 2006 WL 335580,

at *2–3 (S.D. Ala. Feb. 13, 2006) (collecting cases).

       Second, lacking any compelling answer to those cases, Bloosurf directs the Court to others.

None of those authorities supports jurisdiction here. All but one had nothing to do with radio

frequency interference—the predicate for FCC jurisdiction here. See Unigestion Holding, S.A. v.

UPM Tech., Inc., 2017 U.S. Dist. LEXIS 74289, at *16 n.5 (D. Or. May 16, 2017) (distinguishing

Broyde as “hing[ing]” on “RFI” over which the FCC has “exclusive jurisdiction”); Sierra v. City

of Hallandale Beach, 904 F.3d 1343, 1347–48 (11th Cir. 2018) (alleged failure to provide closed

captioning); In re Long Distance Telecomms. Litig., 831 F.2d 627, 633–34 (6th Cir. 1987) (alleged

overcharging for calls—and thus distinguished by Broyde, 13 F.3d at 997, for not involving “radio

signal interference”). And the one case that did concern interference did not feature any claim

premised on it—instead, the court reasoned that the claim there (for a bid-rigging conspiracy)

could “stand or fall regardless of radio interference.” Acumen Commc’ns, Inc. v. City of Covina,

2017 U.S. Dist. LEXIS 25677, at *7, *10–11 (C.D. Cal. Feb. 14, 2017). That is a far cry from this

case, where each of Bloosurf’s claims centers entirely on interference—including one brought

under the FCA’s “Interference” provision, 47 U.S.C. § 333.

       Third, Bloosurf turns to Section 207 of the FCA, claiming it “conclusively establishes” that

this Court has jurisdiction over “claims for damages against common carriers.” Opp. 11. Not so.

As relevant, Section 207 allows for a “suit for the recovery of damages for which [a] common

carrier may be liable under the provisions of this chapter, in any district court of the United States

of competent jurisdiction.” 47 U.S.C. § 207 (emphasis added). It is well-established that use of

a term like “court of . . . competent jurisdiction” shows that a statute is “not intended as an




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independent jurisdictional foundation.” Califano v. Sanders, 430 U.S. 99, 106 n.6 (1977). Rather,

for jurisdiction to lie there must be an “outside source[] of jurisdictional authority.” Id. Here, the

relevant authorities—including Sections 301 and 303 of the FCA and decision after decision by

the courts—show that exclusive jurisdiction over radio frequency interference allegations lies with

the FCC. See supra pp. 3–5; Mot. 14–15.

       Finally, Bloosurf turns to the FCA’s savings clause, 47 U.S.C. § 414. Opp. 12. But Section

414 states only that the FCA does not “abridge or alter the remedies now existing at common law

or by statute.” 47 U.S.C. § 414 (emphasis added). The provision says nothing about jurisdiction,

and therefore offers no support to Bloosurf’s jurisdictional argument.

II.    THE FCC HAS PRIMARY JURISDICTION OVER PLAINTIFF’S CLAIMS.

       Each of the four factors courts evaluate in considering the primary jurisdiction doctrine

favors applying the doctrine here. See Mot. 17–19; Eric B. Fromer Chiropractic, Inc. v. Inovalon

Holdings, Inc., 329 F. Supp. 3d 146, 155 (D. Md. 2018) (enumerating those factors). First, the

FCC unquestionably has expertise in the highly technical spectrum interference allegations that lie

at the core of this action. Mot. 18. Second, as Bloosurf has emphasized, such spectrum

interference matters fall squarely within the FCC’s discretion. Id.; Ex. 7 at 4. Third, the risk of

inconsistent rulings is manifest because, fourth, Bloosurf currently has an Application for Review

pending for review with the FCC concerning the identical subject matter. Mot. 18–19; Ex. 13.

One could hardly imagine a clearer case for deferring to the FCC’s primary jurisdiction.

       In response, Bloosurf offers a series of red herrings. It notes that the doctrine does not

deprive the Court of jurisdiction or apply to legal issues. That is correct, and T-Mobile did not

suggest otherwise. See Mot. 17 (noting that “primary jurisdiction does not—despite its name—

implicate federal subject matter jurisdiction”). Although Bloosurf suggests that, where the

doctrine applies, a stay (as opposed to dismissal) is warranted, the opposite typically is true.


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“Normally, if the court concludes that the dispute which forms the basis of the action is within the

agency’s primary jurisdiction, the case should be dismissed without prejudice so that the parties

may pursue their administrative remedies.” Syntek Semiconductor Co. v. Microchip Tech., Inc.,

307 F.3d 775, 782 (9th Cir. 2002) (amended); see also Quidera v. Blackstone Labs, LLC, 2021

WL 4958789, at *4 (S.D. Fla. Mar. 8, 2021) (dismissing case pursuant to primary jurisdiction

doctrine); Swearingen v. Yucatan Foods, L.P., 59 F. Supp. 3d 961, 964–65 (N.D. Cal. 2014)

(same); Himmelman v. MCI Commc’ns Corp., 104 F. Supp. 2d 1, 8–9 (D.D.C. 2000) (same). That

is especially the case where, as here, the plaintiff already is pursuing its administrative remedies.

       In claiming the doctrine does not apply, Bloosurf effectively concedes that it does.

Bloosurf admits that the issues regarding “subframe technology” that lie at the heart of its

complaint, see Compl. ¶¶ 79–95, “potentially fall under the purview of the FCC,” Opp. 17. It

similarly states that “the factual issues in question potentially reviewable by the FCC are those

concerning the technical aspects of the interference.” Id. Bloosurf’s only response is to assert,

oddly, that the Court need not address those issues because the interference purportedly “is

undisputed.” Id. That is false; were the Court to reach the merits of this case, Bloosurf’s

allegations of interference would be hotly disputed, just as they currently are before the FCC . The

fact that T-Mobile did not take issue with those factual averments in its opening brief is no surprise;

a Rule 12(b)(6) motion presumes the truth of the plaintiff’s well-pleaded factual allegations, and

as such is not the proper forum for T-Mobile to contest these factual issues. See Petrovia v. Prime

Care Med. Inc., 2021 WL 307414, at *2 (D. Md. Jan. 29, 2021).

       The only other argument made by Bloosurf on this point is that, if the primary jurisdiction

doctrine does apply, the Court should stay, rather than dismiss, this case. But as noted, dismissal—

not a stay—is the “[n]ormal[]” remedy when a case falls within the primary jurisdiction of an




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agency. Syntek Semiconductor, 307 F.3d at 782. Although Bloosurf claims it would be “unfairly

prejudice[d]” by dismissal, its only support for this assertion is the allegation that it “continues to

suffer damage at the hands of T-Mobile.” Opp. 17. Setting aside that that claim is incorrect, it is

precisely that supposed harm which Bloosurf currently seeks to redress before the FCC. See Ex.

7 at 1 (asking FCC to “investigate the operations of T-Mobile” over alleged “persistent . . . harmful

interference” with Bloosurf’s network). Dismissal of this lawsuit, as compared with a stay, will

have no effect on that supposed prejudice.

III.   PLAINTIFF’S STATE-LAW CLAIMS ARE PREEMPTED.

       “Congress intended federal regulation of RFI issues to be so pervasive as to occupy the

field.” Sw. Bell Wireless Inc. v. Johnson Cty. Bd. of Cty. Comm’rs, 199 F.3d 1185, 1193 (10th

Cir. 1999). As with exclusive jurisdiction, this result follows from the text of the FCA. The Act’s

“state preemption” provision grants the FCC exclusive authority to “regulate the entry of . . . any

commercial mobile service.” 47 U.S.C. § 332(c)(3)(A). In so doing, the FCA preempts state laws

that would “alter the federal regulation” of the “modes and conditions” of a wireless

telecommunications provider’s service. In re Apple iPhone 3G Prods. Liab. Litig., 728 F. Supp.

2d 1065, 1071 (N.D. Cal. 2010). This includes state-law claims concerning interference—as

“virtually all courts considering RFI preemption” have concluded. Sw. Bell Wireless, 199 F.3d at

1192–93 (citing cases); see also, e.g., Broyde, 13 F.3d at 997; Still v. Michaels, 791 F. Supp. 2d

248, 252 (D. Ariz. 1992); Mot. 21–22 (citing cases).

       Bloosurf has no answer to any of that. It does not even acknowledge Section 332, despite

that provision featuring heavily in T-Mobile’s opening brief. See Mot. 20–22. It says nothing

about the fact that its complaint seeks to impose state-law duties concerning the “modes and

conditions” of T-Mobile’s service. In re Apple, 728 F. Supp. 2d at 1071; see Mot. 21. And—aside

from its uncompelling attempt to dismiss Broyde, see supra Part I—nowhere does Bloosurf


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address any of the cases cited by T-Mobile finding state-law interference claims preempted. See

Mot. 21–22. By “fail[ing] to address the[se] issues,” Bloosurf has “conceded the[m].” McRae v.

Westcor Land Title Ins., 2017 WL 1239682, at *3 (D. Md. Mar. 17, 2017).

       Instead, Bloosurf again seeks refuge in the FCA’s savings clause and Johnson v. Am.

Towers LLC, 781 F.3d 693 (4th Cir. 2015). See Opp. 18–19. T-Mobile already has shown why

neither supports allowing Bloosurf’s state-law claims to proceed. See Mot. 19–22. The savings

clause—as discussed supra Part I—preserves only “remedies now existing at common law or by

statute.” 47 U.S.C. § 414. In other words, Section 414’s application is limited to (i) remedies;

(ii) for “breaches of duties that are not created under the Communications Act.” MCI Telecomms.

Corp. v. Garden State Inv. Corp., 981 F.2d 385, 387 (8th Cir. 1992) (emphasis added). In this

case, (i) remedies are not at issue; and (ii) although Bloosurf casts its claims in terms of state law,

it emphasizes that any duty underlying those claims comes from the “FCC’s regulations and the

entire concept for spectrum licenses”—i.e., the FCA. Opp. 28. In other words, Bloosurf’s

“purported state law claims, in actuality, seek recovery for . . . alleged breach of duties imposed

by . . . the Act”—so the savings clause does not apply. Firstcom, Inc. v. Qwest Corp., 555 F.3d

669, 678 (8th Cir. 2009). Viewed differently, Bloosurf is trying to “bypass” the sweeping and

highly reticulated nature of the FCA “simply by pleading [its] claims in state common-law terms.”

In re Series 7 Brokerage Qualification Exam Scoring Litig., 510 F. Supp. 2d 35, 48–49 (D.D.C.

2007). That is precisely what the preemption doctrine exists to prevent. See id.

       Johnson, which Bloosurf cited in its complaint, supports T-Mobile. See Mot. 20–22. To

be abundantly clear, Johnson is a case that found FCA preemption. The Fourth Circuit held that

the FCA—including its interference provision, 47 U.S.C. § 333—preempts state-law claims that

would “obstruct or burden a wireless service provider’s ability to provide coverage.” 781 F.3d at




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707–08. Understandably unhappy with that clear holding, Bloosurf attempts to distinguish the

“preemption analysis in Johnson.” Opp. 18–19. Setting aside the oddity of Bloosurf now trying

to distance itself from a case that it affirmatively cited in its complaint, see Compl. ¶¶ 174–175,

its efforts fail.

         Bloosurf initially contends (at 18) that Johnson “relied on the fact that the defendants were

not common carriers and could not be sued” under the FCA. This contention is devoid of any

citation to Johnson—and for good reason: Bloosurf is wrong twice over. For one thing, Johnson

involved two sets of defendants—some common carriers, some not—and found the claims against

both were preempted. 781 F.3d at 707–09. For another, nothing in the Fourth Circuit’s conflict

preemption analysis hinged on any particular defendant’s lack of common-carrier status. See id.

at 705–09; cf. Opp. 19 (claiming distinction was “tacit”).

         Bloosurf next claims (at 19) that Johnson is distinguishable because none of its “Maryland

state law claims . . . imposes a duty greater than the FCA.” Even if this were true, it would be

irrelevant. FCA preemption applies where a “complaint, although fashioned in terms of state law

actions, actually challenges . . . an area specifically reserved to federal regulation.” Bastien v.

AT&T Wireless Servs., 205 F.3d 983, 990 (7th Cir. 2000). Spectrum interference is one such

area—a point Bloosurf does not dispute.

IV.      PLAINTIFF FAILS TO STATE A SECTION 333 CLAIM.

         Bloosurf’s Section 333 claim also is barred by: (i) the FCA’s election-of-remedies

provision, because Bloosurf already brought the same allegations to the FCC; and (ii) the statute

of limitations, because Bloosurf filed this case more than two years after the alleged interference.

See Mot. 23–25. None of Bloosurf’s contrary arguments have merit.

         The FCA provides that a person claiming damage by a common carrier may “either make

[a] complaint to the Commission . . . or . . . bring suit for the recovery of the damages.” 47 U.S.C.


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§ 207. “[B]ut,” the provision continues, “such person shall not have the right to pursue both such

remedies.” Id. Accordingly, because Bloosurf elected to file an FCC complaint, the election-of-

remedies provision bars this lawsuit.

       Though Bloosurf concedes (at 20–21) that Section 207 is unambiguous, it appears to be

reading an entirely different statute from the one in the U.S. Code. According to Bloosurf, because

it chose not to seek damages in the FCC action, Section 207 does not apply here because the statute

is “clearly meant to preclude double recovery of damages.” Opp. 20–21. But those words appear

nowhere in the provision and Bloosurf cites no authority supporting such an interpretation. And

Bloosurf is wrong: Section 207 does not hinge on the relief sought but rather bars a plaintiff from

relitigating the “same issues” before the FCC and in federal court, in order to “prevent[]

‘duplicative adjudications and inconsistent results.’”     Premier Network Servs., Inc. v. SBC

Commc’ns, Inc., 440 F.3d 683, 688 (5th Cir. 2006). Bloosurf’s sole authority interpreting Section

207 is not to the contrary. See In re Mocatta Metals Corp., 44 F.C.C.2d 605, 607 (1973) (plaintiff

may not litigate “same claim” in both fora). Notably, while Bloosurf expends significant energy

parsing the “context” of its FCC complaint and the “relief” sought therein, Opp. 21–22, it does not

meaningfully dispute that the issues on which it continues to seek relief from the FCC are

substantively identical to those on which it seeks relief from this Court.

       Bloosurf’s effort to evade the FCA’s two-year limitations bar, 47 U.S.C. § 415(b), is

similarly unavailing. Bloosurf does not dispute that it knew or had reason to know about alleged

harm due to spectrum interference more than two years before it filed its complaint. See Mot. 24–

25; cf. Opp. 22–24. As such, Bloosurf needs some workaround to the statute of limitations to be

able to pursue its FCA claim.




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         In search of one, Bloosurf initially asserts (at 23–24) that the FCA’s limitations period

“only applies to the filing of claims before the FCC.” But although Section 415(b) “expressly

refers only to complaints before the FCC, courts have consistently held that this statute of

limitations applies equally to actions in district court.” APCC Servs., Inc. v. WorldCom, Inc., 305

F. Supp. 2d 1, 10 (D.D.C. 2001) (citing cases). T-Mobile made this point in its opening brief (at

24), and Bloosurf cites no case holding otherwise.

         Next, Bloosurf contends (at 22–24) that the two-year limitations period was tolled by the

“continuing violations” doctrine. Bloosurf’s own allegations refute that contention. “A continuing

violation is occasioned by continual unlawful acts, not continual ill effects from an original

violation.” Nat’l Advert. Co. v. City of Raleigh, 947 F.2d 1158, 1166 (4th Cir. 1991) (declining to

apply the doctrine). Further, the plaintiff must “identify acts or omissions within the statutory

limitation period that are a component of the . . . claim.” DePaola v. Clarke, 884 F.3d 481, 487

(4th Cir. 2018). Bloosurf alleges that, by “the last part of 2020 and the first half of 2021,” the

“totality of the[] acts [of interference] caused [its] service to collapse.” Compl. ¶ 98. In other

words, under Bloosurf’s own framing, its interference claim was fully ripe—i.e., both the

challenged conduct and the asserted harm had occurred—at least three years before it filed its

complaint in April 2024. Nor is Bloosurf helped by its claim that the interference “has never

ceased for three and a half years.” Opp. 23. Where “any harm to the plaintiff stemmed only from

the initial” challenged conduct, the Fourth Circuit “ha[s] found no continuing violation.” Nat’l

Advertising, 947 F.2d at 1167. The “‘continuing wrong theory’ should not provide a means of

relieving a plaintiff from its duty of reasonable diligence in pursuing its claims.” Id. at 1168. 3



3
 Bloosurf’s is flat wrong in asserting (at 24) that Capital Tel. Co. v. FCC, 777 F.2d 868 (2d Cir. 1985), “found”
conduct “similar” to that alleged here subject to the continuing violations doctrine. The court in that case expressly
“decline[d]” to rule on the limitations issue—and, in any event, the case did not involve interference. Id. at 869, 871.


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V.     PLAINTIFF FAILS TO STATE CLAIMS FOR TORTIOUS INTERFERENCE.

       Bloosurf acknowledges (at 25–28) that, to state its tortious interference claims, it must

show “unlawful” or “wrongful” conduct committed through “improper means.” But neither its

allegations concerning T-Mobile’s negotiations with the Schools nor those concerning spectrum

interference meet that standard. See Mot. 25–28. Rather than undermine this conclusion,

Bloosurf’s opposition only reinforces it.

       First, any claim premised on the Schools declining to renew the Lease Agreement fails as

a matter of law because—as Bloosurf seems to concede—the Lease Agreement places the renewal

decision within the Schools’ “unilateral” discretion.        Dkt. 1-1 § 1(b); see Compl. ¶ 181

(“terminable at will”); see also Mot. 26–27. “Where the decision whether to terminate or continue

a contract with the plaintiff rests solely in the discretion of the third party, it is not improper or

wrongful conduct for one in competition with the plaintiff to provide that third party with a reason

for exercising [its] discretion.” Macklin v. Robert Logan Assocs., 639 A.2d 112, 120 (Md. 1994).

Bloosurf fails entirely to address this point, which T-Mobile made in its opening brief (at 27).

       Second, as T-Mobile has explained, alleged spectrum interference likewise fails to

constitute “conduct that is independently wrongful or unlawful.” Alexander & Alexander Inc. v.

B. Dixon Evander & Assocs., Inc., 650 A.2d 260, 271 (Md. 1994); see also Mot. 26. Seeking any

way to shoehorn spectrum interference into that standard, Bloosurf claims that T-Mobile’s alleged

“concealment” of the source of the interference constitutes an “injurious falsehood.” Opp. 26

(citing Alexander & Alexander, 650 A.2d at 271). But—as the plain words of the phrase suggest—

an “injurious falsehood” does not involve concealment; rather, the standard requires, inter alia,

“publishing a known falsity.” EndoSurg Med., Inc. v. EndoMaster Med., Inc., 71 F. Supp. 3d 525,

544 (D. Md. 2014). Bloosurf identifies no conduct remotely approaching that standard.




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VI.    PLAINTIFF FAILS TO STATE A CLAIM FOR NEGLIGENCE.

       “Where the failure to exercise due care creates a risk of economic loss only, courts have

generally required an intimate nexus between the parties as a condition to the imposition of tort

liability.” Jacques v. First Nat’l Bank of Md., 515 A.2d 756, 759 (Md. 1986). Bloosurf’s

negligence claim is premised on economic loss, see Compl. ¶¶ 237–240, but it fails entirely to

show any intimate nexus between the parties as would be required to support a tort duty. Its

negligence claim accordingly should be dismissed. See Mot. 28–29.

       In trying to save its claim, Bloosurf only reinforces why this case should be before the

FCC. Bloosurf asserts (at 28) that there would be “absolute bedlam if media competitors could

interfere with each other’s signal without any means of legal recourse.” Maybe so—but that is

why “common carrier[s] . . . are heavily regulated by the FCC,” Opp. 19, the agency “Congress

has given . . . the responsibility to regulate . . . the telecommunications industry,” Nuvio Corp. v.

FCC, 473 F.3d 302, 307 (D.C. Cir. 2006). And that is why Bloosurf initially brought—and

continues to bring—its interference allegations before the Commission. See Ex. 7 at 4 (Bloosurf

FCC complaint) (addressing “interference” is [o]ne of the Commission’s core missions”); Ex. 13.

       Likewise unavailing is Bloosurf’s attempt (at 29) to craft an (un-pleaded) negligence per

se claim out of an alleged violation of the FCA. Where, as here, the federal regulatory “scheme

established by Congress” is a “critical element” of the plaintiff’s tort claim, “it is therefore pre-

empted by that scheme.” Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 353 (2001); see

also supra Part III. Any “detailed parsing” of T-Mobile’s conduct to determine if it “met the

degree of care and skill which a reasonable . . . telecommunications carrier would have exercised

would draw this Court into territory more properly tread by the FCC.” MCI Telecomms., Inc. v.

T.A. Commc’ns, Inc., 40 F. Supp. 2d 728, 736 (D. Md. 1999). Tellingly, Bloosurf does not cite

any case allowing a negligence per se claim to be premised on a violation of the FCA.


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VII.    PLAINTIFF FAILS TO STATE A PRIVATE NUISANCE CLAIM.

        As T-Mobile’s opening brief explained (at 29), Bloosurf’s private nuisance claim fails

because such claims are limited to alleged interference with real property. Faced with that

fundamental principle, Bloosurf’s response is simply to cite (at 30) more cases involving real

property. 4 Bloosurf simply underscores why this claim should be dismissed.

VIII. PLAINTIFF’S DAMAGES REQUEST FAILS BASIC PLEADING RULES.

        Bloosurf still cites no authority—from anywhere, let alone Maryland—supporting the

“special multiplier” underlying its exorbitant $116 million damages request. Mot. 30. Its damages

request is therefore facially implausible and should be dismissed. Howlette v. Hall, Estill,

Hardwick, Gable, Golden & Nelson, P.C., 2011 WL 310264, at *3 n.4 (D. Md. Jan. 28, 2011)

(identifying plaintiff’s failure to establish a “reasonable basis for the amount of claimed damages”

as “deficienc[y]” supporting dismissal of complaint).

                                             CONCLUSION

        For the foregoing reasons and those stated in Defendants’ opening brief, the complaint

should be dismissed with prejudice.




4
 Gorman v. Sabo, 210 Md. 155, 159 (1956); Sumby v. Jackson, 2021 WL 916222, at *1 (Md. Ct. Spec. App. Mar. 9,
2021); United Food & Commercial Workers Int’l Union v. Wal-Mart Stores, Inc., 228 Md. App. 203, 210–11, 231
(2016).


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Dated: August 2, 2024                        Respectfully submitted,


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